

People v Miller (2025 NY Slip Op 02471)





People v Miller


2025 NY Slip Op 02471


Decided on April 25, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 25, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: BANNISTER, J.P., MONTOUR, SMITH, NOWAK, AND DELCONTE, JJ.


219 KA 21-01630

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT,
vDEMARCUS MILLER, DEFENDANT-APPELLANT. 






THE LEGAL AID BUREAU OF BUFFALO, INC., BUFFALO (ERIN A. TRESMOND OF COUNSEL), FOR DEFENDANT-APPELLANT.
MICHAEL J. KEANE, ACTING DISTRICT ATTORNEY, BUFFALO (MINDY F. VANLEUVAN OF COUNSEL), FOR RESPONDENT. 


	Appeal from a judgment of the Erie County Court (James F. Bargnesi, J.), rendered November 4, 2021. The judgment convicted defendant, upon his plea of guilty, of assault in the first degree, robbery in the first degree and criminal possession of a weapon in the second degree. 
It is hereby ORDERED that the judgment so appealed from is unanimously affirmed.
Memorandum: Defendant appeals from a judgment convicting him, upon his guilty plea, of assault in the first degree (Penal Law
§ 120.10 [1]), robbery in the first degree (§ 160.15 [1]), and criminal possession of a weapon in the second degree (§ 265.03 [3]). Contrary to defendant's contention, we conclude on this record that defendant's waiver of the right to appeal was knowing, voluntary, and intelligent (see People v Foumakoye, 229 AD3d 1380, 1380 [4th Dept 2024], lv denied 42 NY3d 970 [2024]; see also People v Roberto, 224 AD3d 1367, 1367-1368 [4th Dept 2024]; see generally People v Thomas, 34 NY3d 545, 559-564 [2019], cert denied — US —, 140 S Ct 2634 [2020]). Defendant's valid waiver of the right to appeal precludes our review of his challenge to the severity of his sentence (see People v Lopez, 6 NY3d 248, 255-256 [2006]).
Entered: April 25, 2025
Ann Dillon Flynn
Clerk of the Court








